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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 21-61524-CIV-DIMITROULEAS

 JOHANNA RAMLOCHAN,

        Plaintiff,

 vs.

 DYNAMIC RECOVERY SOLUTIONS,
 LLC,

       Defendant.
 _____________________________________/

                                   ORDER TO SHOW CAUSE

        THIS CAUSE is before the Court sua sponte.

        On August 30, 2021, the Court issued an Order [DE 6] directing the parties to agree upon a

 mediator within fourteen (14) days and to advise the Clerk’s office of their choice. From the

 record, it appears that the parties have not yet selected a mediator.

        Accordingly, it is ORDERED AND ADJUDGED that the parties shall file a response to

 this Order to Show Cause by September 24, 2021, showing cause why the Clerk should not be

 directed to randomly select a mediator from the list of certified mediators. Failure to comply with

 this Order will result in the Clerk selecting a mediator at random.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

 14th day of September, 2021.
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 Copies furnished to:
 Counsel of Record
